       Case: 3:18-cv-00834-wmc Document #: 1 Filed: 10/11/18 Page 1 of 3



                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF WISCONSIN


SHAWN D. JONES

             Plaintiff,


       v.                                     Case No. 18C0834
                                              Dane County Case No. 18CV1974
DR. BURTON COX,

             Defendant.


      NOTICE OF REMOVAL AND PETITION FOR REMOVAL OF CIVIL
          ACTION TO THE UNITED STATES DISTRICT COURT
                 PURSUANT TO 28 U.S.C. §§1441, 1446



                              NOTICE OF REMOVAL

TO:    Honorable Frank D. Remington           Shawn D. Jones # 258533
       Dane County Circuit Court              Prairie Du Chien Correctional
       215 S. Hamilton St., Rm 4103           P.O. Box 9900
       Madison, WI 53703                      Prairie Du Chien, WI 53821


       PLEASE TAKE NOTICE that on the below set forth date, Defendant, by his

counsel, Attorney General Brad D. Schimel and Assistant Attorney General

Shannon A. Conlin, filed the below set forth petition for removal of this civil action

to the United States District Court for the Western District of Wisconsin pursuant

to 28 U.S.C. §§ 1441, 1446.
       Case: 3:18-cv-00834-wmc Document #: 1 Filed: 10/11/18 Page 2 of 3



                PETITION FOR REMOVAL OF CIVIL ACTION
                TO THE UNITED STATES DISTRICT COURT

      The Defendant hereby petitions for removal of this civil action to the United

States District Court for the Western District of Wisconsin pursuant to 28 U.S.C. §§

1441, 1446. The grounds for removal are as follows:

      1. A civil action has been commenced and is pending in the Circuit Court for

Dane County, Wisconsin; Shawn D. Jones v. Dr. Burton Cox, Case No. 18cv1974. A

copy of the summons and complaint in this action are marked as Exhibit A and B,

affixed to this notice of removal and petition, and incorporated herein.

      2.   In this action, the plaintiff seeks damages on the basis of alleged

constitutional violations.

      3. The United States District Court for the Western District of Wisconsin has

jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343. Venue is proper as this action

is currently pending in Dane County Circuit Court within the Western District of

Wisconsin. 28 U.S.C. §§ 130(b) and 1441(a).

      4.   Pursuant to 28 U.S.C. § 1441(b), removal of the federal claim is

mandatory upon compliance with 28 U.S.C. § 1446 as herein accomplished.

      5. The Defendant was served in this matter with a summons and complaint

no earlier than September 26, 2018, which is within 30 days of the date of this

notice and petition.

      6. This notice and petition will be served upon the plaintiff. It will also be

filed with the Clerk of Circuit Court for Dane County today.




                                          2
       Case: 3:18-cv-00834-wmc Document #: 1 Filed: 10/11/18 Page 3 of 3



      WHEREFORE, the Defendant respectfully represents that there has been

due compliance with the provisions of law and give notice that this action stands

removed from the Circuit Court for Dane County, State of Wisconsin, to the United

States District Court for the Western District of Wisconsin.

      Dated this 11th day of October, 2018.

                                       Respectfully submitted,

                                       BRAD D. SCHIMEL
                                       Attorney General

                                       s/Shannon A. Conlin
                                       SHANNON A. CONLIN
                                       Assistant Attorney General
                                       State Bar #1089101

                                       Attorneys for Defendant Burton Cox

Wisconsin Department of Justice
Post Office Box 7857
Madison, Wisconsin 53707-7857
(608) 266-1677
(608) 267-8906 (Fax)
conlinsa@doj.state.wi.us




                                          3
